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                                                                             No. 707


                                                          SECTION:        PROPERTY

                                                          TITLE:          USE OF SCHOOL FACILITIES
SAUCON VALLEY
                                                          ADOPTED:        May 8, 2007
SCHOOL DISTRICT
                                                          REVISED:




                                               707. USE OF SCHOOL FACILITIES

1. Purpose             School facilities of this district should be made available for community purposes,
                       provided that such use does not interfere with the educational program of the
                       schools.

2. Authority           It is the policy of the Board of School Directors of the Saucon Valley School District
                       to make available the facilities of the school district to organizations, associations
                       and individuals of the community for civic, cultural, educational and recreational
                       activities when the scheduling of these activities does not interfere with the
                       educational program of the district.

                       The Saucon Valley School District does not discriminate on the basis of race, color,
                       national origin, sex, disability, or age in making available the facilities of the school
                       district. The Administration shall post a "Notice of Non-Discrimination" and make
                       the notice available as required by law.

                       Requests from organizations outside the district will also be given consideration.

3. Delegation of       The Administration is charged with the responsibility of reviewing each request for
   Responsibility      use of facilities and, if all requirements are met, scheduling the use of the facilities.
                       Facilities use schedule shall be posted on the district web page.

                       Requests which fail to qualify for inclusion under the guidelines will be directed to
                       the Board of School Directors for consideration.

                       The Board reserves the right to deny permission to use Saucon Valley District
                       facilities when it deems this action to be in the best interests of the school district.

   SC 775              Fee charges will be determined by the nature of the use, school-related or nonprofit
                       within the district, or commercial. The School Board will annually approve a list of
                       school-related organizations for which all or some of the conditions and fees may be
                       waived. Rules and Regulations for the use of school buildings and facilities will be
                       provided to the organizations requesting the use of the facilities.




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4. Guidelines       Rental Fee Schedule for use of school facilities will be reviewed and approved
   SC 775           annually and included as part of the Rules and Regulations.

                    Classifications of eligible organizations using school facilities shall be defined in the
                    Rules and Regulations for the Use of School Buildings, Facilities and Equipment.

                    Application Process

                    An individual or community group requesting permission to use school buildings,
                    facilities or school property must submit a written request on the prescribed
                    application in advance of the proposed date to the Superintendent.

                    The application must specify the portion of the school facilities requested for use;
                    proposed activities; number of individuals participating; and the date, time and
                    duration of the proposed event. All wage requests shall be for a specific date or
                    dates, not for an undefined time period.

                    Along with the completed application, the individual or group must submit the
                    following:

                    1. Evidence of organizational liability to limits required by district guidelines.

                    2. Documentation evidencing the school district shall be held harmless by the user
                       for any liability that arises from use of school facilities by the individual or
                       group.

                    Application Evaluation

                    No application to use school facilities shall be approved if the proposed activity
                    would result in any of the following:

                    1. Conflict with any school-sponsored activity.

                    2. Access to school facilities closed due to renovations, maintenance, cleaning, the
                       school calendar, or Board action.

                    3. Access to school facilities containing equipment or furnishings which would be
                       detrimental to the operation of a district program if damaged or operated by an
                       unqualified operator.

                    4. The proposed use would prevent or encumber district personnel from preparing
                       school facilities for their primary purpose, because of the nature or duration of
                       the activity.




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                   Limitations

                   When individuals and community groups receive written permission to use school
                   facilities under this policy, such use shall be conditioned upon strict compliance with
                   the following:

                   1. Individuals shall not use, access or enter upon any portions of the school
                      facilities or their contents not specified in the approved written request form.

                   2. Individuals shall refrain from any conduct or activities not specifically identified
                      in the approved written request form.

                   3. When advertising or promoting activities held at school facilities, individuals and
                      community groups shall clearly communicate that the activities are not being
                      sponsored by the school district.

                   4. School equipment used in conjunction with requested facilities shall be identified
                      when the application is submitted. Users of school equipment must accept
                      liability for any damage to or loss of equipment that occurs while in their use.
                      Where rules so specify, no equipment may be used except by a qualified
                      operator, provided by the school.

                   The School Board may require police supervision for traffic or safety control when
                   anticipated attendance will exceed 200 people.

                   Prohibited Activities

                   Everyone using school facilities must adhere to Saucon Valley School District
                   policies and regulations. All civil infractions will be referred to local law
                   enforcement agencies, i.e., illegal parking, vandalism, use of obscene language, etc.

                   The following activities are strictly prohibited in school facilities when individuals
                   and community groups are granted written permission to use said school facilities:

                   1. Possession, use or distribution of illegal drugs and/or alcoholic beverages.

SC 511             2. Possession of weapons.

                   3. Conduct that would alter, damage or be injurious to any district property,
                      equipment or furnishings.

                   4. Conduct that would constitute a violation of the Pennsylvania Crimes Code,
                      and/or state and federal laws and regulations.




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10 P.S. 311 et seq   5. Gambling, games of chance, lotteries, raffles or other activities requiring a
                        license under the Local Option Small Games of Chance Act, unless such activity
                        has been expressly authorized by the Board or administration.

20 U.S.C.            6. Use of tobacco products.
Sec. 7181 et seq
35 P.S. 1223.5
                     Violations

                     The school district reserves the right to remove from school district premises any
                     individual or community group who fails to comply with the terms and conditions of
                     this policy and established procedures.

                     In the event an individual or community group violates this policy or the terms under
                     which permission was granted to use school facilities, that individual or community
                     group forfeits the right to submit future written requests to use school district
                     property, unless otherwise decided by the Board.

                     Fee Schedule

                     Use of school facilities for activities directly related to the educational program and
                     district operations shall be without cost to users, except that the user shall be
                     responsible for extra custodial fees.

                     Special Rules And Regulations

                     Opening of Buildings – The building and facility will not be opened until the person
                     responsible for the activity is present.

                     Spectators –

                     1. Practices or Rehearsals – Parents/Guardians of participants and their children
                        are permitted during practices or rehearsals.

                     2. Meets or Performance – Adults and children under eighteen (18) accompanied
                        by an adult are permitted at meets or performances. Children under eighteen (18)
                        will only be permitted without being accompanied by an adult ONLY if the
                        organization using the facilities provides adequate supervision.

                     Compensation of School Personnel – Organizations using school facilities shall
                     make all payments directly to the school district. No reimbursement directly to the
                     employee is permitted. Tips also are not permitted.




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                       Cancellations – Cancellation of scheduled use of school facilities must be reported
                       to the Business Administrator preferably at least seven (7) days in advance. This
                       advance notification is required for notification of custodians or others designated to
                       supervise the use of the facility and to release the facility for another group which
                       may desire to use it. If the cancellation is not cleared with the Business
                       Administrator in time to permit proper notification of school personnel engaged for
                       the activity, the organization will be required to pay all costs involved.




School Code
511, 775

PA Code
Title 22
Sec. 403.1

10 P.S. 311 et seq

35 P.S. 1223.5

20 U.S.C.
Sec. 7181 et seq

20 U.S.C.
Sec. 7905




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